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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHISN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

Jesus Isabel and Demetrio Hueramo              )
                                               )       Case No. 20-cv-1223
Plaintiffs,                                    )
                                               )
v.                                             )
                                               )
Muneeba Maniar, Saheem Baluch, Com2            )
Computers and Technology, LLC, and             )       Jury demanded
Round 2, LLC                                   )
Defendants.                                    )


                                           COMPLAINT

Plaintiffs Jesus Isabel and Demetrio (“Plaintiffs”), through their attorneys, Lopez & Sanchez,
LLP for their Complaint against Muneeba Maniar, Saheem Baluch, Com2 Computers and
Technology, LLC, and Round 2, LLC (collectively “Defendants”), states as follows:

                                         INTRODUCTION

1.      This lawsuit arises under the Fair Labor Standards Act, 29 U.S.C. § 201 et seq.

(“FLSA”), the Illinois Minimum Wage Law, 820 ILCS § 105/1 et seq. (“IMWL"), and the

Illinois Wage Payment and Collection Act, 820 ILCS § 115/1 et seq. (“IWPCA”) for failure to

pay overtime for all hours worked in excess of forty (40) hours in a workweek, and failure to pay

all earned wages for all time worked when due.

                                 JURISDICTION AND VENUE

2.      This Court has jurisdiction over Plaintiffs’ FLSA claims pursuant to 28 U.S.C. §1331.

Venue is proper in this judicial district as the facts and events giving rise to Plaintiffs’ claims

occurred in this judicial district. This Court has supplemental jurisdiction over Plaintiffs’ state

law claims pursuant to 28 U.S.C. §1367.
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                                           THE PARTIES

3.      At all relevant times herein, Plaintiffs Jesus Isabel and Demetrio Hueramo resided in and

were domiciled within this judicial district.

4.      At all relevant times herein, Plaintiffs were employed by Defendants as “employees” as

defined by the FLSA, IMWL, IWPCA within this judicial district.

5.      At all relevant times herein, Plaintiffs were not exempt from the overtime provisions of

the FLSA, 29 U.S.C. §207, and the IMWL, 820 ILCS 105/1 et seq.

6.      During the course of their employment from July 2014 until March 2018, Plaintiffs

worked for Defendants at a warehouse operated by Defendants which stored computer monitors

and other electronics which had been collected by Defendants for disposal and recycling from a

variety of jurisdictions and locations in Illinois.

7.      Plaintiff Isabel operated a forklift and spent his days moving around containers of broken

television and tube computer monitors in the warehouse which stored these materials. Plaintiff

Hueramo assisted him with this work.

8.      Defendants Muneeba Maniar and Saheem Baloch are members of Com2 Computer and

Technology, LLC (“Com2”) and were involved in the day to day business operation of

Defendant Com2. Defendants Maniar and Baloch had the authority to hire and fire persons

employed by Defendant Com2, including the Plaintiffs; the authority to direct and supervise the

work of Defendant Com2, employees; the authority to sign on Defendant Com2 checking

accounts, including payroll accounts; and the authority to make decisions regarding employee

compensation and capital expenditures.

9.      Defendants Muneeba Maniar and Saheem Baloch were Plaintiffs’ “employer” as that

term is defined in the FLSA, 29 U.S.C. 203(d), the IMWL, 820 ILCS 105/3(c), and the IWPCA,

820 ILCS §115/1 et seq.


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10.      Defendant Com2 Computer and Technology, LLC (“Com2”), is a corporation organized

under the laws of the State of Illinois, with its principal place of business within this judicial

district at 550 Kehoe Blvd. Carol Stream, IL 60188.

11. Defendant Com2 is an “enterprise” as defined by in Section 3(r)(1) of the FSLA, 29 U.S.C. §

      203(r)(1), and is an enterprise engaged in commerce, or in the production of goods for

      commerce, within the meaning of Section 3(s)(1)(A).

12.      Defendant Com2 has had two or more employees, including Plaintiffs, who handle goods

that moved in interstate commerce.

13.      At all relevant times herein, Defendant Com2 was Plaintiffs’ “employer” as that term is

defined in the FLSA, 29 U.S.C. 203(d), the IMWL, 820 ILCS 105/3(c), and the IWPCA, 820

ILCS §115/1 et seq.

14.      Plaintiffs worked for Defendants from February 2017 through October 2018.

15.      Plaintiffs worked approximately 81 hours per week, although there were times they

worked more hours.

16.      Plaintiffs Isabel and Hueramo were paid $12.50 and 10.50 per hour respectively.

17.      Defendants failed to pay Plaintiffs overtime compensation for the time they worked over

40 hours a week.

18.      Plaintiffs have executed consent to sue letters, which are attached to this complaint as an

exhibit.

                                            COUNT I
                  Violation of the Fair Labor Standards Act - Minimum Wages

19.      Plaintiffs incorporate and re-allege paragraphs 1 through 18 of this Complaint as though

fully set forth herein.

20.      This Count arises from Defendants’ violation of the FLSA, 29 U.S.C. §201 et seq., for

their failure to pay all wages to Plaintiffs that they were due.
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21.      During the course of Plaintiffs’ employment by Defendant, Plaintiffs were not exempt

from the minimum wage provisions of the FLSA, 29 U.S.C. §206.

22.      During the course of Plaintiffs’ employment with Defendant, Plaintiffs were directed by

Defendants to work, and did so work, in excess of forty (40) hours in individual work weeks.

23.      Plaintiffs worked between 64 and 81 hours per week, although there were times they

worked more hours.

24.      Plaintiffs were not paid the last paycheck they were due for the last two weeks of work

performed.

25.      Defendants’ failure to pay Plaintiffs the minimum wage for all time worked up to forty

(40) hours per week violated the FLSA, 29 U.S.C. § 206.

26.      Defendants willfully violated the FLSA by refusing to pay Plaintiffs the minimum wage

for all time worked up to forty (40) hours in individual work weeks.

27.      Plaintiffs are entitled to recover unpaid wages for up to three years prior to the filing of

this suit because Defendants’ failure to pay their the minimum wage for all hours worked up to

forty (40) hours per week was a willful violation of the FLSA, 29 U.S.C. §206.

      WHEREFORE, Plaintiffs pray for a judgment against Defendants as follows:

         A. A judgment in the amount Plaintiffs’ regular rate for all time Plaintiffs worked in up to

         forty (40) hours per week;

         B. Liquidated damages in an amount equal to the amount of unpaid wages for which

         Plaintiffs are found to be due and owing;

         C. Reasonable attorneys’ fees and costs of this action as provided by the FLSA; and

         D. Such further relief as this Court deems appropriate and just.




                                              COUNT II
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                 Violation of the Fair Labor Standards Act - Overtime Wages

28.     Plaintiffs incorporate and re-allege paragraphs 1 through 27 of this Complaint as though

fully set forth herein.

29.     This Count arises from Defendants’ violation of the FLSA, 29 U.S.C. §201 et seq., for

their failure to pay overtime wages to Plaintiffs at a rate of one and one-half times Plaintiffs’

regular hourly rate of pay for all time worked in excess of forty (40) hours in certain individual

work weeks.

30.     During the course of Plaintiffs’ employment by Defendants, Plaintiffs were not exempt

from the overtime wage provisions of the FLSA, 29 U.S.C. §207.

31.     During the course of Plaintiffs’ employment with Defendants, Plaintiffs were directed by

Defendants to work, and did so work, in excess of forty (40) hours in individual work weeks.

32.     Plaintiffs worked between 64 and 81 or more hours per week.

33.     Plaintiffs were not paid time and a half for the hours they worked overtime and were not

paid at all for the last two week that they worked.

34.     Pursuant to 29 U.S.C. §207, Plaintiffs were entitled to be compensated at a rate of one

and one-half times their regular hourly rate of pay for all time worked in excess of forty (40)

hours in individual work weeks.

35.     Defendants’ failure to pay Plaintiffs overtime wages at a rate of one and one-half times

their hourly rate of pay for all time worked in excess of forty (40) hours per week violated the

FLSA, 29 U.S.C. § 207.

36.     Defendant willfully violated the FLSA by refusing to pay Plaintiffs overtime wages for

all time worked in excess of forty (40) hours in individual work weeks.




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37.      Plaintiffs are entitled to recover unpaid wages for up to three years prior to the filing of

this suit because Defendants’ failure to pay overtime wages for hours worked in excess of forty

(40) hours per week was a willful violation of the FLSA, 29 U.S.C. §207.

      WHEREFORE, Plaintiffs pray for a judgment against Defendants as follows:

         A. A judgment in the amount of one and one-half times Plaintiffs’ regular rate for all time

         Plaintiffs worked in excess of forty (40) hours per week;

         B. Liquidated damages in an amount equal to the amount of unpaid wages for which

         Plaintiffs are found to be due and owing;

         C. Reasonable attorneys’ fees and costs of this action as provided by the FLSA; and

         D. Such further relief as this Court deems appropriate and just.


                                            COUNT III
                 Violation of the Illinois Minimum Wage Law-Minimum Wages

38.      Plaintiffs reallege and incorporate paragraphs 1-37 as if set forth herein.

39.       Count arises from Defendants’ violation of the IMWL, 820 ILCS 105/1 et seq., for

failure to pay the minimum wage to Plaintiffs for all time worked up to of forty (40) hours in

certain individual work weeks.

40.      During the course of Plaintiffs’ employment by Defendants, Plaintiffs were not exempt

from the minimum wage provisions of the IMWL.

41.      Plaintiffs worked between 64 and 81 or more hours per week.

42.      Pursuant to (820 ILCS 105/4) Plaintiffs were entitled to be compensated at an minimum

hourly rate of $8.25 per hour pay for all time worked up to forty (40) hours in individual work

weeks.




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43.    By not paying Plaintiffs for their last two weeks of work, Defendants did not compensate

Plaintiffs at the minimum rate of pay for all time worked up to forty (40) hours in individual

work weeks.

44.    Defendants’ failure to pay Plaintiffs the minimum wage for all time worked up to forty

(40) hours in individual work weeks violated the minimum wage provisions of the IMWL, 820

ILCS 105/4(a).

45.    Pursuant to 820 ILCS 105/12(a), Plaintiffs are entitled to recover treble the amount of

unpaid wages for three (3) years prior to the filing of this suit, plus damages in the amount of 5

percent (5%) per month of the amount of underpayment.

       WHEREFORE, Plaintiffs pray for a judgment against Defendants as follows:

       A. A judgment in treble the amount of all back wages due as provided by the IMWL;

       B. Interest on the back wages in accordance with 815 ILCS 205/2, at 5% per month;

       C. Reasonable attorneys’ fees and costs of this action as provided by the IMWL; and

       D. Such further relief as this Court deems appropriate and just.


                                            COUNT IV
                 Violation of the Illinois Minimum Wage Law-Overtime Wages

46.    Plaintiffs reallege and incorporate paragraphs 1-45 as if set forth herein.

47.     Count arises from Defendant’s violation of the IMWL, 820 ILCS 105/1 et seq., for

failure to pay overtime wages to Plaintiffs at a rate of one and one half times their regular hourly

rate of pay for all time worked in excess of forty (40) hours in certain individual work weeks.

48.    During the course of Plaintiffs’ employment by Defendants, Plaintiffs were not exempt

from the overtime wage provisions of the IMWL.

49.    Plaintiffs worked between 64 and 81 or more hours per week.




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50.    Pursuant to 820 ILCS 105/4a(1) Plaintiffs were entitled to be compensated at a rate of

one and one-half times their regular hourly rate of pay for all time worked in excess of forty (40)

hours in individual work weeks.

51.    Defendants did not compensate Plaintiffs at the rate of one and one half time their regular

hourly rate of pay for all time worked in excess of forty (40) hours in individual work weeks.

52.    Defendants’ failure to pay Plaintiffs overtime wages at a rate of one and one-half times

their regular hourly rate of pay for all time worked in excess of forty (40) hours in individual

work weeks violated the maximum hour provisions of the IMWL, 820 ILCS 105/4(a).

53.    Pursuant to 820 ILCS 105/12(a), Plaintiffs are entitled to recover treble the amount of

unpaid overtime wages for three (3) years prior to the filing of this suit, plus damages in the

amount of five percent (5%) per month of the amount of underpayment.

WHEREFORE, Plaintiffs pray for a judgment against Defendants as follows:

       A. A judgment in treble the amount of all back wages due as provided by the IMWL;

       B. Interest on the back wages in accordance with 815 ILCS 205/2, at 5% per month;

       C. Reasonable attorneys’ fees and costs of this action as provided by the IMWL; and

       D. Such further relief as this Court deems appropriate and just.

                                      Respectfully submitted,

                                       /s/ Jorge Sanchez
                                    One of Plaintiffs’ attorneys

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Dated: February 19, 2020



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